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                                     UNITED STATES DISTRICT COURT
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                     NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
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      WAYMO LLC,                                        CASE NO. 3:17-cv-00939-WHA

                        Plaintiff,                      [PROPOSED] ORDER GRANTING
                                                     PLAINTIFF WAYMO LLC’S
               vs.                                      ADMINISTRATIVE MOTION TO FILE
                                                     UNDER SEAL PORTIONS OF EXHIBIT 1
    UBER TECHNOLOGIES, INC.;                            TO WAYMO’S OPPOSITION TO UBER’S
 OTTOMOTTO LLC; OTTO TRUCKING                        SECOND MOTION TO COMPEL
    LLC,

              Defendants.
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               Plaintiff Waymo LLC (“Waymo”) has filed an Administrative Motion to File Under Seal
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      Portions of Exhibit 1 to Waymo’s Opposition to Uber’s Second Motion to Compel (the
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      “Administrative Motion”).
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               Having considered the Administrative Motion, and good cause to seal having been shown,
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      the Court GRANTS Waymo’s Administrative Motion and ORDERS sealed the documents listed
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      below:
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                Document                                        Portions to Be Filed Under Seal
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                Exhibit 1 to Waymo’s opposition to Uber’s       Highlighted Portions
             second motion to compel (“Exhibit 1”)
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                                                                           CASE NO. 3:17-cv-00939-WHA
                                        [PROPOSED] ORDER GRANTING WAYMO’S ADMINISTRATIVE MOTION TO SEAL
     Case 3:17-cv-00939-WHA Document 902-2 Filed 07/14/17 Page 2 of 2




 1        IT IS SO ORDERED.
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 3 Dated: ______________, 2017

 4                                     HON. WILLIAM ALSUP
                                       United States District Court Judge
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                                 [PROPOSED] ORDER GRANTING WAYMO’S ADMINISTRATIVE MOTION TO SEAL
